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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

AMA MULTIMEDIA, LLC, a Nevada limited
liability company,

Plaintiff,
v.

BORJAN SOLUTIONS, S.L. d/b/a
SERVIPORNO, a Spanish company; and
BORJAN MERA URRESTARAZU,

an individual,

Defendants.

Case No. 2:15-cv-01673-JCM-(GWF)

DEFENDANTS’ RESPONSE TO
PLAINTIFF’S MOTION TO COMPEL
ARBITRATION

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INTRODUCTION

Having first filed a complaint in which it attempted to actively ignore the provisions of an
admittedly enforceable arbitration agreement into which it had entered, Plaintiff AMA
Multimedia LLC (“AMA”), has now done an about-face, seeking to “compel” the Defendants
(who first raised the issue in their Motion to Dismiss the original complaint) (Dkt. No. _) to
submit the claims raised by AMA to binding arbitration.

Putting aside the incongruity of AMA’s attempt to “compel” the parties who insisted that
the claims could only proceed (if at all) through arbitration, the Parties all now seem to be in
agreement that: (1) the parties voluntarily entered into a settlement agreement, (2) the settlement
agreement contains a binding arbitration clause, and (3) the binding arbitration clause covers all
of the claims raised in the Plaintiff's complaint.

There is no disagreement, then, that the Plaintiff's complaint should be dismissed and the
matter referred to binding arbitration. There are, however, two crucial points on which the
Parties do still disagree, requiring the Court’s intervention:

(1) contrary to the controlling case law (and the very text of the Federal Arbitration Act),
the Plaintiff insists that this Court (and not the arbitrator) should decide whether AMA has met
the conditions precedent to its filing for arbitration; and

(2) the Plaintiff claims that it may unilaterally insist on the arbitration panel of its choice,
as opposed to submitting the matter to a national provider such as JAMS or the American
Arbitration Association.

Accordingly, while the Defendants agree that the Plaintiff's Amended Complaint should
be dismissed in favor of binding arbitration, they respectfully request that the order issued by this

Court: (1) make clear to the arbitrator that this Court has not ruled or expressed any position

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concerning the question of whether AMA has met the conditions precedent to its filing for
arbitration, and (2) instruct the Plaintiff that, if it chooses to initiate arbitration, it must do so with
either JAMS or the AAA. In support of this Response, the Defendants state as follows.

LEGAL ARGUMENT

I. ANY ORDER FROM THIS COURT SHOULD MAKE CLEAR THAT THE COURT
HAS NOT DECIDED THE QUESTION OF WHETHER AMA HAS MET THE
CONDITIONS PRECEDENT AND THAT THE ARBITRATORS MUST DECIDE
THAT ISSUE IN THE FIRST INSTANCE.

Contrary to the weight of all applicable case law — and the text of the Federal Arbitration

Act itself-— AMA insists that this Court should decide the question of whether the conditions

precedent to the initiation of arbitration have been met. Plaintiffs Motion, pp. 10. More

specifically, AMA claims that the resolution of this issue is the same as a determination of

arbitrability, which is ordinarily left to the Court unless the parties have clearly indicated a

contrary intent. AMA has, however, completely misunderstood the scope of the question

reserved for the Court.
The gateway question of arbitrability to which AMA refers is simply the two-part inquiry

that a Court faced with a Motion to Compel Arbitration must resolve, namely: (1) whether a

valid agreement to arbitrate exists and, if it does, (2) whether the agreement encompasses the

dispute at issue.” Kilgore v. KeyBank, N.A., 673 F.3d 947, 955-56 (9th Cir. 2012) (quoting

Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000)) (internal

citation omitted); see also Telepet USA, Inc. v. Qualcomm Inc., 2015 U.S. Dist. LEXIS 159368,

*4 (D. Nev. Nov. 24, 2015) (“[A] district court’s role is limited to determining (1) whether a

valid agreement to arbitrate exists and, if it does, (2) whether the agreement encompasses the

dispute at issue.”); Rodriguez v. AT&T Services, Inc., 2015 U.S. Dist. LEXIS 142398, *9 (D.

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Nev. Oct. 20, 2015) (same); Cardiovascular Biotherapeutics, Inc., 2015 U.S. Dist. LEXIS
20745, *6 (D. Nev. Feb. 19, 2015) (same).

Once the Court determines that the two factors have been satisfied, it is without
discretion to proceed; the case must be dismissed in favor of an arbitral resolution. See, e.g.,
Dean Witter Reynolds Inc. v. Byrd, 470 U.S. 213, 218 (1985) (“By its terms, the Act leaves no
place for the exercise of discretion by a district court, but instead mandates that district courts
shall direct the parties to proceed to arbitration on issues as to which an arbitration agreement has
been signed.”); Countrywide Home Loans, Inc. v. Mortgage Guaranty Insurance Co., 642 F.3d
849, 854 (9th Cir. 2011) (“[T]Jhe Act leaves no place for the exercise of discretion by a district
court, but instead mandates that district courts shall direct the parties to proceed to arbitration on
issues as to which an arbitration agreement has been signed.”); KPMG LLP v. Cocchi, 132 S. Ct.
23, 25-26 (2011) (“[T]he Act leaves no place for the exercise of discretion by a district court, but
instead mandates that district courts shall direct the parties to proceed to arbitration on issues as
to which an arbitration agreement has been signed.”).

The question of whether a party has met the conditions precedent to arbitration, however,
is not the same as the issue of arbitrability and, to the contrary, it is well established that the
arbitrator, and not the court, must, in the first instance, resolve the issue of whether the requisite
conditions precedent have been met. As the United States Supreme Court explained in BG
Group PLC v. Republic of Arg.:

[C]ourts presume that the parties intend arbitrators, not courts, to decide disputes

about the meaning and application of particular procedural preconditions for the

use of arbitration... [T]hey include the satisfaction of “prerequisites such as time

limits, notice, laches, estoppel, and other conditions precedent to an obligation to

arbitrate.” ... Revised Uniform Arbitration Act of 2000] §6(c) (‘An arbitrator

shall decide whether a condition precedent to arbitrability has been fulfilled”) ...

§6, Comment 2 (explaining that this rule reflects “the holdings of the vast
majority of state courts” and collecting cases).

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134 S. Ct. 1198, 1202, 1207 (2014); see also, Howsam vy. Dean Witter Reynolds, 537 U.S. 79
(2002) (“The [Federal Arbitration Act], states that an ‘arbitrator shall decide whether a condition
precedent to arbitrability has been fulfilled’”); Chorley Enters. v. Dickey's Barbecue Rests., Inc.,
807 F.3d 553, 565 (4th Cir. 2015) (“As the Supreme Court has recently re-affirmed, however,
arbitrators — not courts — must decide whether a condition precedent to arbitrability has been
fulfilled.”); Joe v. Sec. Fin. Corp., 2014 U.S. Dist. LEXIS 68753 (D.S.C. May 20, 2014)

(“[W ]hether prerequisites such as time limits, notice, laches, estoppel, and other conditions
precedent to an obligation to arbitrate have been met, are for the arbitrators to decide.”);
Lumbermens Mut. Cas. Co. v. Broadspire Mgmt. Servs., 623 F.3d 476, 481 (7th Cir. 2010)
(“[T]he adequacy of Lumbermens' Disagreement Notices is a procedural question about a
condition precedent to arbitration under § 3.4 of the parties' agreement and is for the arbitrator to
address.”).

Because there is a significant danger that an arbitrator might misinterpret this Court’s
order that the parties proceed to arbitration as a decision on the merits of the question of whether
the conditions precedent to arbitration have been satisfied, this Court’s order should clarify that
this Court has not ruled or expressed any position concerning the question of whether AMA has
met the conditions precedent to its filing for arbitration.

Il. THE COURT SHOULD REFER THE PARTIES TO A NATIONALLY
RECOGNIZED ARBITRATION PROVIDER SUCH AS JAMS OR THE AAA.

The Parties agree also that: (1) the Settlement Agreement is silent as to the identity of the
arbitration panel to which disputes should be submitted, and (2) this Court has the power to
direct the parties to a specific arbitration panel. Although the Parties arrive at this conclusion
from different directions, the result is the same. Plaintiffs cite Gar Energy & Assocs. v. Ivanhoe

Energy Inc., 2011 U.S. Dist. LEXIS 148424 (E.D. Cal. Dec. 23, 2011) - a case in which the

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Court appointed the AAA as the arbitration panel - for the proposition that the Federal
Arbitration Act allows the Court to name an arbitrator where the agreement is silent as to the
identity of the panel. The Defendants do not disagree with this position and add also that, under
basic contract law, the court should imply a reasonable term to effectuate the intent of the parties.
See, e.g., United States v. Clarke, 1995 U.S. App. LEXIS 38850 (9th Cir. 1996) (“It is well
settled that where no time for performance is established in the agreement, the law implies that
performance must occur within a reasonable time.”); Goichman v. Rheuban Motors, Inc., 682
F.2d 1320, 1325 (9th Cir. 1982) (“Under general principles of contract law, where, as here, the
parties make no express agreement on the contract price, the law implies an agreement for a
reasonable price.”).

AMA insists that it has the right to unilaterally dictate the arbitration panel to be used by
the parties. It does not. Section 20, 1.1 of the Parties’ Settlement Agreement provides that the
“arbitration shall be conducted by a single arbitrator, knowledgeable in Internet and intellectual
property disputes.” Of the six Nevada-based neutrals listed at ADR Services, Inc.’s website
(AMA’s preferred provider), not one identifies Internet Law or Intellectual Property law as a
specialty, concentration, or area of expertise. See Exhibit 1. Indeed, although ADR Services,
Inc. advertises that it has a number of “Specialty Panels” in Nevada, these panels do not include
arbitrators with a focus on Internet Law or Intellectual Property law. See Exhibit 2. In short,
while ADR Service, Inc. may provide fine neutrals for other disputes, they do not provide any
arbitrators whose qualifications match those required by the parties’ agreement.

In contrast, at least eight (8) of JAMS’ Nevada arbitrators identify intellectual property
cases as part of their resumes, with five of those also discussing high technology-related (if not

specifically internet cases) as well. See Exhibit 3. Indeed, both parties had previously identified

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at least one of the JAMS arbitrators as being appropriate for this matter.'_ When the Parties could
not agree on the specific JAMS mediator, AMA’s counsel, Marc Randazza wrote:

If we can't agree, which it appears clear that we can't, we will just initiate the arbitration
and we can do the old fashioned ranking game.

See Exhibit 4.

In response, Defendants’ counsel stated that they would be willing to arbitrate with
JAMS and utilize a ranking system. In response, Attorney Randazza stated that, if AMA
couldn’t have its hand-picked JAMS arbitrator, it wouldn’t agree to use JAMS at all. See
Exhibits 5 and 6.

And, although, the AAA no longer appears to provide online access to its panel of
neutrals, it is hard to imagine that the world’s largest alternative dispute resolution service would
not have qualified arbitrators available in Nevada. Accordingly, the Court should order that, if

AMA chooses to pursue its claims in arbitration, that it do so with either JAMS or the AAA.

' Plaintiffs first proposed former Judge Philip M. Pro, now with JAMS. Defendants suggested instead former Judge
Irma Gonzalez, also with JAMS, who has a particular emphasis on intellectual property cases. Both judges are listed
on the JAMS website as arbitrating cases in Las Vegas. In rejecting Judge Gonzalez, Attorney Marc Randazza
wrote:

Irma Gonzalez is not in Las Vegas, and is a lazy dipshit who I'm not about to agree to.
What I like about Pro is that he became an arbitrator because he could not stand retirement. He works
hard and will dig into the issues with the requisite attention. Gonzalez became a judge so that she could

become an arbitrator and be lazy.

If we can't agree, which it appears clear that we can't, we will just initiate the arbitration and we can do
the old fashioned ranking game.

See Exhibit 4. Defendants’ counsel apologizes to the Court in advance for the inappropriate language quoted by Mr.
Randazza, but notes that Mr. Randazza used that descriptor — not Defendants’ counsel.

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CONCLUSION

For the reasons stated hereinabove, Defendants agree that the Plaintiff's complaint should
be dismissed in favor of mandatory arbitration, with an order that specifies that:

(1) this Court has not ruled or expressed any position concerning the question of whether
AMA has met the conditions precedent to its filing for arbitration, and

(2) the Plaintiff, if it chooses to initiate arbitration, must do so with either JAMS or the

A Proposed Order is attached hereto as Exhibit 7.
DATED this 25" day of January, 2016.

HOLLEY DRIGGS WALCH FINE WRAY
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/s/ James D. Boyle

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CERTIFICATE OF SERVICE

Pursuant to Fed. R. Civ. P. 5(b), I certify that I caused the document entitled
DEFENDANTS’ RESPONSE TO PLAINTIFF’°S MOTION TO COMPEL
ARBITRATION to be electronically filed and served this 25% day of January, 2016 to the

following:

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DATED this 25" day of January, 2016.

An Employee of Holley Driggs Walch Fine Wray
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